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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                    Debtors.1                            (Jointly Administered)

       NOTICE OF (A) HEARING TO CONSIDER CONFIRMATION OF DEBTORS’
   CHAPTER 11 PLAN; (B) DEADLINE FOR VOTING TO ACCEPT OR REJECT PLAN; (C)
   DEBTORS’ RELEASES AND THIRD-PARTY RELEASE; (D) DEADLINES REGARDING
     THIRD-PARTY RELEASE OPT OUT ELECTION; AND (E) RELATED MATTERS
PLEASE TAKE NOTICE: On December 12, 2023, Amyris, Inc. and its affiliated debtors and debtors in possession
(the “Debtors”) filed the Second Amended Joint Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors, as
Modified [Docket No. 892] (including all exhibits thereto and as amended, modified or supplemented from time to
time, the “Plan”).
Concurrently with the filing of the Plan, the Debtors filed the related Disclosure Statement in support of the Plan
[Docket No. 893] (including all exhibits thereto and as may be amended, modified or supplemented from time to time,
collectively, the “Disclosure Statement”). On December 13, 2023, this Court entered an order approving the Disclosure
Statement [Docket No. 897] (the “Disclosure Statement Order”) and certain related materials (i) establishing notice,
voting and objection procedures for Voting Classes (the “Solicitation Materials”) and (ii) establishing notice and
objection procedures for Non-Voting Classes (the “Non-Voting Class Notices”).
A hearing to consider confirmation of the Plan (the “Confirmation Hearing”) will commence on January 24,
2024 at 10:00 a.m. (prevailing Eastern Time), before the Honorable Thomas M. Horan, United States Bankruptcy
Judge, at the United States Bankruptcy Court for the District of Delaware, 824 Market Street, Courtroom No. 5,
Wilmington, Delaware 19801. It may be possible to attend the Confirmation Hearing remotely. Any party who wishes
to attend via video conference is required to register with the Court at the following
link: https://debuscourts.zoomgov.com/meeting/register/vJItfuqorzgsHOJAF8ej3ijW34UADxTSbVI.
The confirmation Hearing may be continued from time to time without further notice except for (i) an announcement
made at the Confirmation Hearing or any adjourned confirmation hearing or (ii) a written notice filed with the
Bankruptcy Court and served on all parties who have filed Plan Objections, the United States Trustee, and all parties
who have requested notice in these chapter 11 cases pursuant to Bankruptcy Rule 2002.
The record date for determining which Holders of Claims against the Debtors may vote on the Plan is December 1,
2023 (the “Record Date”).
For your Ballot to be counted, you must complete all required information on the Ballot, execute the Ballot, and return
the completed Ballot to the address indicated on the Ballot so that it is received by 5:00 p.m. (Eastern Time) on
January 18, 2024 (the “Voting Deadline”). Any failure to follow the voting instructions included with the Ballot or
to return a properly completed Ballot so that it is received by the Solicitation Agent on or before the Voting Deadline
may disqualify your Ballot and your vote.
If an objection is pending with respect to your Claim as of the date you receive this Notice, your vote will not be
counted unless the Court temporarily allows your claim for purposes of voting to accept or reject the Plan, and you
are required to file a motion for such relief (a “Rule 3018 Motion”) no later than 5:00 p.m. (Eastern time) on
January 5, 2024, which may be heard on or prior to the Confirmation Hearing. Notwithstanding the foregoing, if the



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  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
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Debtors file an objection to a claim and request that such claim be allowed in a specific amount, your Ballot shall be
counted in such specified amount, unless otherwise ordered by the Court.
The Bankruptcy Court has established January 18, 2024 at 5:00 p.m. (Eastern Time), as the last date and time
for filing and serving objections to the confirmation of the Plan (the “Plan Objection Deadline”). All Plan
Objections must state with particularity the legal and factual grounds for such objection; (i) be in writing; (ii) state the
name and address of the objecting party and the nature of the claim or interest of such party; (iii) state with particularity
the basis and nature of any objection; (iv) be filed with the Court and served so as to be received by the Plan Objection
Deadline; and (v) served on the following parties: (a) Counsel for the Debtors, (i) Pachulski Stang Ziehl & Jones LLP,
919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801), Attn: James E.
O’Neill (joneill@pszjlaw.com) and Steven W. Golden (sgolden@pszjlaw.com); and (ii) Pachulski Stang Ziehl &
Jones LLP, One Sansome Street, Suite 3430, San Francisco, CA 94104, Attn: Debra I. Grassgreen
(dgrassgreen@pszjlaw.com); (b) Office of the U.S. Trustee for the District of Delaware, 844 King Street, Suite 2207,
Lock Box 35, Wilmington, Delaware, 19801, Attn: John Schanne, Esq. (John.Schanne@usdoj.gov); (c) Counsel to
the DIP Lenders, DIP Agent and the Foris Prepetition Secured Lenders, (i) Goodwin Procter LLP, 620 Eighth Avenue,
New York, NY 10018, Attn: Michael H. Goldstein (mgoldstein@goodwinlaw.com), Alexander J. Nicas
(anicas@goodwinlaw.com), and Debora A. Hoehne (dhoehne@goodwinlaw.com); and (ii) Troutman Pepper
Hamilton Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899;
Attn: David M. Fournier (david.fournier@troutman.com); (d) Counsel to the Committee, (i) Counsel to the
Committee, (i) White & Case LLP, 111 South Wacker Drive, Suite 5100, Chicago, IL 60606-4302, Attn: Gregory
Pesce, (gregory.pesce@whitecase.com) and Andrew O’Neill, (aoneill@whitecase.com); (ii) White & Case LLP, 1221
Avenue of the Americas, New York, NY 10020-1095, Attn.: John Ramirez, (john.ramirez@whitecase.com) and
Andrea Kropp, (andrea.kropp@whitecase.com); and (iii) local counsel to the Committee, Potter Anderson & Corroon
LLP, 1313 North Market Street, 6th Floor, Wilmington, DE 19801; Attn: Christopher M. Samis,
(csamis@potteranderson.com), Katelin A. Morales, (kmorales@potteranderson.com), Sameen Rizvi
(srizvi@potteranderson.com); and (e) any party that requests service pursuant to Bankruptcy Rule 2002.
    Any Plan Objection not timely filed and served by the Plan Objection Deadline in accordance with the
                     provisions of this Notice will not be heard and will be overruled.
PLEASE TAKE FURTHER NOTICE that any party in interest, including any member of a Voting Class
or Non-Voting Class, wishing to obtain copies of the Solicitation Materials, including the Plan and
Disclosure Statement, at the Debtors’ expense may do so by (i) contacting the Debtors’ Solicitation Agent
at 888.855.0485 (Toll free) or 303.276.0309 (International) or by email at TeamAmyris@stretto.com or by
viewing such documents by accessing online at no cost to you at https://cases.stretto.com/Amyris. The
documents are also available on the Court’s website: www.deb.uscourts.gov. Please note that a PACER
password and login are needed to access documents on the Court’s website.




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Dated: December 18, 2023                   PACHULSKI STANG ZIEHL & JONES LLP
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                                           Debra I. Grassgreen (pro hac vice forthcoming)
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